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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


 STEPHEN M. GRUVER, ET AL.                               CIVIL ACTION NO. 3:18-CV-00772

 VERSUS                                                  JUDGE SHELLY D. DICK

 STATE OF LOUISIANA THROUGH                              MAGISTRATE JUDGE ERIN
 THE BOARD OF SUPERVISORS OF                             WILDER-DOOMES
 LOUISIANA STATE UNIVERSITY
 AND AGRICULTURAL AND
 MECHANICAL COLLEGE, ET AL.



  MEMORANDUM OF OBJECTIONS TO PLAINTIFFS’ REQUEST FOR ENTRY OF
      DEFAULT AGAINST LOUISIANA BETA CHAPTER OF PHI DELTA

        NOW INTO COURT, through undersigned counsel, comes Defendant Phi Delta Theta

Fraternity (“the Fraternity”) and respectfully objects to certain allegations relating to it contained

in Plaintiffs’ Request for Entry of Default Against Louisiana Beta Chapter of Phi Delta Theta

Fraternity (Dkt. No. 74), namely Paragraphs 10, 11 and 13.

        Paragraph 10 of Plaintiff’s Request for Entry of Default states that Plaintiffs served a copy

of the Complaint on Defendant Louisiana Beta Chapter of Phi Delta Theta Fraternity through Phi

Delta Theta Fraternity based on the mere allegation that the Fraternity was “a member of Louisiana

Beta Chapter, because Phi Delta Theta Fraternity could, under the rules or practices of the

Louisiana Beta Chapter, participate in the selection of persons authorized to manage the affairs

of the Louisiana Beta Chapter and/or in the development of the policies of the Louisiana Beta

Chapter.” (Italics supplied.) There is, however, no evidentiary support for this allegation, and in

fact it is vigorously contested. Moreover, as the Fraternity stated in its Answer (Dkt. No. 46), the

Louisiana Beta Chapter was not at any time the agent of the Fraternity, and the Fraternity did not




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at any time manage the affairs and activities of the Louisiana Beta Chapter.1 Additionally, as stated

in the Fourth Affirmative Defense set forth in its Answer, “the Fraternity does not exercise control,

factually or legally, over the affairs or activities of its chapters, including Louisiana Beta, and that

it did not do so in connection with any of the allegations in the Complaint, nor did it have a legal

duty to do so.”2 Accordingly, Plaintiffs cannot properly establish that they have served the

Louisiana Beta Chapter through the Fraternity as a “member of the Chapter” as grounds for entry

of default. At this stage, there is simply no factual or evidentiary basis whatsoever for this

allegation, and moreover, such allegations made in the Complaint have been specifically denied

by the Fraternity in every instance.

        Paragraph 11 of Plaintiffs’ Request for Entry of Default cites to portions of Louisiana’s

Unincorporated Association Act (at Louisiana Revised Statutes section 12:501), particularly that

portion that sets out the statutory definition of “member” of an unincorporated association.

Although Plaintiffs do acknowledge in Paragraph 12 of the Request for Entry of Default that the

Fraternity specifically denied that it was a “member” of the Louisiana Beta Chapter, Plaintiffs go

on to allege in Paragraph 13 that the Fraternity’s act of suspending the operations and removing

the charter from Louisiana Beta Chapter “unequivocally shows that Phi Delta Theta exercised

control and power over the management of affairs and development and policy of the Louisiana

Beta Chapter.” (Dkt. No. 74) However, again, this allegation is contested, as there are no factual,

legal, or evidentiary grounds for this allegation that the Fraternity was at any point in time a

“member” of the Louisiana Beta Chapter. The Fraternity’s revocation of the Louisiana Beta

Chapter’s charter does not equate to being a “person” participating in the unincorporated

association, and the Fraternity specifically denies that it was at any point in time a “member” of


  1
      See, for example, Paragraphs 30, 148, 149, 150, 218, 219 and 242 set forth in Answer (Dkt. No.46).
  2
      See Fourth Affirmative Defense in Answer (Dkt. No. 46).

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the Louisiana Beta Chapter, within the definition of La. R.S. 12:501. More specifically, the

Fraternity states that it was not, in fact, served summons and complaint in this suit as a member of

the Louisiana Beta Chapter.

        In conclusion, although Phi Delta Theta Fraternity does not oppose the Clerk’s entry of

default based on other means of service on the Chapter as alleged in the Request for Entry of

Default, e.g., Paragraph 9, the Fraternity objects to Plaintiffs’ alleged basis for their Request for

Entry of Default in Paragraphs 10, 11, and 13 as it relates to the Fraternity being served as “a

member” of the Louisiana Beta Chapter. The Fraternity affirmatively denies that service on the

Fraternity constitutes proper service on the Louisiana Beta Chapter and therefore entry of default

is opposed on this basis alone.

                                               Respectfully submitted,

                                               PHELPS DUNBAR LLP



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                                               ATTORNEYS FOR DEFENDANTS PHI
                                               DELTA THETA FRATERNITY AND
                                               LOUISIANA BETA HOUSE CORPORATION


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of November, 2018, a copy of the foregoing pleading

was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing

will be sent to counsel or record by operation of the Court’s electronic filing system.



                                               Patrick A. Talley, Jr.




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